Case 2:05-cr-20203-.]DB Document 22 Filed 07/11/05 Page 1 of 2 Page|D 36

IN THE UNITED sTATEs DISTRICT CoUR'r F"£° B" -~ D-C-
FoR THE wEsTERN DISTRICT oF TENNESSE
WESTERN DIVIsIoN lbs JU'- ' l M‘| |0- 33

 

 

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CLEHK U..
UNITED STATES OF AMERICA, ) W/D O;r
Plaintiff, )
)
vs. ) Cr. No. 05-20203-1-B
)
)
KATHRYN BOWERS, )
Defendant. )

 

ORDER ON DEFENDANT BOWERS’
MOTION TO EXTEND 'I`IME TO FILE MOTIONS

 

This cause came on to be heard upon the motion of defendant Kathryn Bowers. For good
cause shown, the motion is GRANTED. Det`endant Bowers shall have until September l, 2005 to
tile motions in this cause.

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

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Honorable J. Breen
US DISTRICT COURT

